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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


 TREVOR FITZGIBBON                             )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )               Case No. 3:19-cv-477-REP
                                               )
                                               )
 JESSELYN A. RADACK                            )
                                               )
        Defendant.                             )
                                               )


                 DECLARATION OF TREVOR FITZGIBBON

        Trevor Fitzgibbon states and deposes as follows, under penalty of perjury:

        1.      I am over 21 years of age and otherwise competent to make this

 Declaration. I have personal knowledge of the statements contained herein based upon

 (a) documents and information in my possession and control, (b) my personal

 observations, memory, and experiences, (c) public information and statements by

 Defendant, Jesselyn Radack (“Radack”), on the Internet and on Twitter, and (d)

 documents known or reasonably believed to be in the possession, custody and control of

 others. The statements in this Declaration are true and accurate to the best of my

 knowledge, information and belief.

        2.      I am the Plaintiff in this action. I authorized my counsel to file this action.

 I affirm that the facts alleged in my third amended complaint [filed as ECF No. 87 in this

 case] are truthful and accurate to the best of my knowledge and belief. All the hyperlinks

 in my third amended complaint are active as of May 28, 2020.




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        3.       On April 13, 2018, I commenced an action against Radack in the United

 States District Court for the Eastern District of Virginia (Case 3:18-cv-247-REP) (the

 “Original Radack Action). In my second amended complaint filed in the Original Radack

 Action [Document 60], I alleged claims of malicious prosecution, defamation, insulting

 words, abuse of process, and conspiracy. I sought money damages.

        4.       On April 9, 2019, Radack and I signed a settlement agreement

 (“Agreement”) in which we resolved all claims, counterclaims and disputes between us,

 including those stated in the Original Radack Action. A true and complete copy of the

 Agreement is attached to my Declaration as Exhibit “A”. The Agreement is governed by

 Virginia law.     Radack delivered the settlement checks to Virginia and made the

 representations that induced the settlement in Virginia. I was induced by Radack’s

 representations to enter into the Agreement.

        5.       Paragraph 4 of the settlement agreement contains the following material

 terms and conditions:




                                                2
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       6.    Paragraph 4(e) of the settlement agreement provides that:




       7.    Paragraph 12 of the settlement agreement provides that:




       8.    Paragraph 19 of the settlement agreement states that:




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        9.      The settlement agreement is a valid and enforceable contract.

        10.     After April 9, 2019, Radack (a) tweeted, retweeted, replied to, liked or

 otherwise posting statements on Twitter that mentioned me or that were of and

 concerning me, (b) directed, requested, encouraged, enticed, procured or otherwise

 caused third parties, including, but not limited to, her followers, friends, and colleagues,

 to tweet, retweet, reply, like or otherwise post statements on Twitter that mentioned me

 or that were of and concerning me, (c) published, made, printed or communicated to third

 parties (who were not family members) disparaging comments or words that would cause

 or contribute to me being held in disrepute by the public, and/or (d) disclosed the terms

 and conditions of the settlement agreement to unauthorized persons, including Raymond

 Johansen and the user of the Twitter account @jimmysllama.

        11.     Between April 9, 2019 and the present, I took screenshots of tweets,

 retweets, replies, and likes that Radack published or otherwise posted on Twitter. I also

 received copies of direct messages from an attorney in Florida named Eric Morgan. The

 tweets, retweets, replies, likes and direct messages identified in this Declaration are true

 and complete copies of the originals. They have not been altered in any way.

        12.     After April 9, 2019, Radack published the following tweets, retweets,

 replies, likes, and direct messages that mention me or that are of and concerning me:




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                                  12(a)




                                  12(b)




                                    5
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                                  12(c)




                                    6
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                                  12(d)




                                  12(e)




                                    7
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                                   12(f)




                                    8
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                                  12(g)




                                    9
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                                   12(h)




                                    10
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                                   12(i)




                                    11
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                                   12(j)




                                    12
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                                   12(k)




                                    13
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                                   12(l)




                                    14
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                                   12(m)




                                    15
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                                   12(n)




                                    16
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                                   12(o)




                                    17
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                                   12(p)




                                    18
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                                   12(q)




                                    19
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                                   12(r)




                                    20
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                                   12(s)




                                   12(t)




                                    21
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                                   12(u)




                                    22
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                                   12(v)




                                    23
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                                   12(w)




                                   12(x)




                                    24
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                                   12(y)




                                   12(z)




                                    25
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                                   12(aa)




                                    26
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                                  12(bb)




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         13.     In addition to the above tweets, retweets, replies, liked, posts, and direct

  messages, Radack has, upon information and belief, sent many more direct messages and

  encrypted messages and emails to Johansen, @jimmysllama, @Kaidinn, and to others

  that mention me, that are of and concerning me, and/or that disparage me. Radack

  refuses to disclose these documents, which are in her exclusive possession and control.

         14.     On June 28, 2019, I filed this action to enforce the terms of the

  Agreement. I engaged legal counsel at his regular and customary rate of $400 per hour. I

  have suffered liquidated damages as a result of Radack’s breach of the settlement

  agreement in the sum of $28,000.00. I have incurred substantial attorney’s fees (in a sum




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